Case 3:17-cv-00448-JHM-DW Document 1-2 Filed 07/27/17 Page 1 of 10 PageID #: 6




                                                                                 EXHIBIT A
                            EXHIBIT A
    Case 3:17-cv-00448-JHM-DW Document 1-2 Filed 07/27/17 Page 2 of 10 PageID #: 7




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                                                                                                     Transmittal Number: 16852933
Notice of Service of Process                                                                            Date Processed: 07/07/2017

Primary Contact:           Davena D. Morgan Thurmond
                           Golden Living
                           1000 Fianna Way
                           Fort Smith, AR 72919

Electronic copy provided to:                  Ms. Amy Nguyen
                                              Brenda Boster
                                              Lisa Lowther

Entity:                                       GGNSC Louisville Hillcreek LLC
                                              Entity ID Number 2498221
Entity Served:                                GGNSC Louisville Hillcreek LLC d/b/a Golden Living Center - Hillcreek
Title of Action:                              The Estate of Esther Jane Cecil, by and through the Co-Executors of Her Estate,
                                              Anthony Dominic Cecil, III and Terrance Wayne Cecil vs. GGNSC Louisville
                                              Hillcreek LLC d/b/a Golden Living Center - Hillcreek
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Jefferson County Circuit Court, Kentucky
Case/Reference No:                            17CI03389
Jurisdiction Served:                          Kentucky
Date Served on CSC:                           07/07/2017
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
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Case 3:17-cv-00448-JHM-DW Document 1-2 Filed 07/27/17 Page 3 of 10 PageID #: 8
Case 3:17-cv-00448-JHM-DW Document 1-2 Filed 07/27/17 Page 4 of 10 PageID #: 9
Case 3:17-cv-00448-JHM-DW Document 1-2 Filed 07/27/17 Page 5 of 10 PageID #: 10
Case 3:17-cv-00448-JHM-DW Document 1-2 Filed 07/27/17 Page 6 of 10 PageID #: 11
Case 3:17-cv-00448-JHM-DW Document 1-2 Filed 07/27/17 Page 7 of 10 PageID #: 12
Case 3:17-cv-00448-JHM-DW Document 1-2 Filed 07/27/17 Page 8 of 10 PageID #: 13
Case 3:17-cv-00448-JHM-DW Document 1-2 Filed 07/27/17 Page 9 of 10 PageID #: 14
Case 3:17-cv-00448-JHM-DW Document 1-2 Filed 07/27/17 Page 10 of 10 PageID #: 15
